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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                                                         11/5/2020
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BERNADETTE RICCIARDI,

                                            Plaintiff,                       19-CV-2807 (SN)

                          -against-                                               ORDER

DIANE RICCI, et al.,

                                            Defendants.

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SARAH NETBURN, United States Magistrate Judge:

     On November 4, 2020, the parties reached a settlement. Accordingly, it is:

     ORDERED that this case is dismissed, provided, however, that within 30 days of the

date of this Order, counsel for the plaintiff may apply by letter to restore this action to this

Court’s calendar, in which event the action will be restored. The Clerk of Court is

respectfully directed to close this case.

SO ORDERED.




DATED:           November 5, 2020
                 New York, New York
